                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )             No. 3:11-CR-75
                                                      )             (PHILLIPS/SHIRLEY)
 DWAYNE MITCHELL,                                     )
                                                      )
                        Defendant.                    )


                                        PRETRIAL ORDER

                This case is before the Court on October 20, 2011, pursuant to the Court reviewing

 the file and notification that a plea agreement [doc. 10] has been filed. Accordingly, the Court

 discerns no need to hold a pretrial conference in this matter.

                                                    I.

                There are no pending motions in this case.

                                                   II.

                In the event that the parties proceed to trial, the trial procedures to be followed in this

 case are as follows:

                (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

 the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

 the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

 if the proceedings are unnecessarily prolongated.




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                 (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                 (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

 identified as of this time.

                 (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

 problems were identified as of this time.

                 (e) Special Requests for Jury Instructions. If counsel have any special requests for

 instructions to the jury, the same shall be filed at least five (5) working days before trial.

                 (f) Additional Motions. No more motions will be allowed to be filed in this cause

 of action by either side without prior leave of Court.

                 (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

 fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

 as possible. Any admissions and stipulations of fact to be used at trial shall be signed by defendant’s

 attorney and the defendant and filed at least five (5) working days before trial.

                 (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

 Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.

                 (i) Jury List. The Clerk may provide counsel with a jury list containing names and

 personal information concerning prospective petit jurors (hereafter “the jury list”). Counsel and any

 other person provided with the jury list may not share the jury list or information therein except as

 necessary for purposes of jury selection. Following jury selection, counsel and any other person




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 provided the jury list must return to the clerk the jury list and any copies made from the jury list or

 destroy them.

                 (j) Contact with Jurors. Unless permitted by the Court, no attorney, representative

 of an attorney, party or representative of a party, may interview, communicate with, or otherwise

 contact any juror or prospective juror before, during, or after the trial. Permission of the Court must

 be sought by an application made orally in open court or upon written motion stating the grounds

 and the purpose of the contact. If permission is granted, the scope of the contact and any limitations

 upon the contact will be prescribed by the Court prior to the contact.

                                                  III.

                 This case will be set for trial before the Honorable Thomas W. Phillips and a jury,

 to commence at 9:00 a.m. on November 9, 2011.

                 If counsel have any objections to this Pretrial Order, such objection should be taken

 up pursuant to Local Rule 72.4(b), EDTN.

                 IT IS SO ORDERED.

                                                         ENTER:


                                                           s/ C. Clifford Shirley, Jr.
                                                         United States Magistrate Judge




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